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                         UN ITED STATE S D ISTRICT COURT
   2                     SOUTHERN DISTR ICT OF FLOR IDA
                      CASE NO. 11-20427-WILLIAMS/TURNOFF

        DISNEY ENTERPRISES,                  )
   5    INC., TWENTIETH CENTURY              )
        FOX FILM CORPORA TION ,
        UN IVER SAL C ITY STU DIO S
        PRO DUCT IONS LLLP ,
        CO LUMB IA PICTURES
        IN DUSTRIE S , INC ., and
   8    WA RNE R BRO S .
        EN TER TA INMENT , INC .,

                 Plain tiffs,
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        HOT FILE CORP ., ANTON
        T ITOV , and DOES 1-10

                 De fendants .

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  15
  16              H    G H              O N F I D E         T      A
  17          (Pursuant to protective order, the following
          transcript has been designated highly confidential)
  18
  19                  30 (B )(6) DEPOSITION OF ANTON TITOV
  20                        LO S A NGELES , CAL IFORN IA
  21                      THUR SDA Y , NOVEMBER       2011
  22
  23
        RE PORTED BY :
  24    Alejandria E. Kate
        C SR NO . 11897 , HI 448, R PR , CLR
  25    JOB NO .: 44003

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                          SOUTHERN DISTRICT OF FLOR IDA
                      CASE NO . 11-20427-W1LLIAMS/TURNOFF

         DISNEY ENTERPRISES,
         INC ., TWENTIETH CENTURY            )
         FOX FILM CORPORATION,               )
         UNIVERSAL CITY STUDIOS              )
         PRODUCTIONS LLLP,                   )
         COLUMBIA PICTURES                   )
         INDUSTR IES, IN C ., and
         WARNER BROS .
         ENTERTA INMENT , IN C .,

                 Plaintiffs ,
   10

   11
         HOTFILE CORP ., ANTON
         T ITOV , and DOES 1-10

                 Defendants .


         HOTFILE COR P .,
   15
                 Counterclaim ant,
   16
         V .

         WARNER BROS ENTERTA INMENT
   18    zuc .

   19            counterdefendant .

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                                  NOV EM BER 17, 20 11
                                         7 :08 A .M .




                V id eotaped dep osition of ANTON TITOV , h eld at
                the o ffices of JENNER & BLOCK , LLP ,
                 633 We st 5th Street , Su ite 3600 , Los A ngele s,

                California, before Alejandria E. Kate, a
                Reg istered Professional R eporter and
                Ce rtified Shorth and Rep orte r o f th e State o f
                Califo rn ia .




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                                                                         Page 4
    1   A P P E A R A N C E S:
    2
    3        ATTORNEY FOR THE PLA INTIFFS:
    4             JENNER & BLOCK , LLP
                   BY:   STEVEN B. FABRIZIO, ESQ.
    5              1099 New York Avenue, NW
                   Suite 90O
    6              Washington, DC 20001
                   202 .639 .6040
    7              sfabrizio@jenner.com
    8
    9        ATTORNEY FOR THE DEFENDANTS HOTFILE CORP .,
             AND ANTON TITOV :
   10
                   FARELLA , BRAUN & MARTEL , LLP
   11              BY : RODERICK M . THOMPSON, ESQ .
                        (APPEARING VIA VIDEO CONFERENCE)
   12              235 Montgom ery Street, 17th Floor
                   San Francisco, California 94104
   13              415 .954 .44:0
                   rthomp son@fbm .com
   14
   15
             A TTORNEY FOR THE DE FENDANT ANTON TITOV :
   16
                   PENKOV , MARKOV & PA RTNERS
   17              BY : SVETOSLAV DIMITROV, ESQ.
                        NIKOLAY CVETANOV, ESQ .
   10                   (APPEARING VIA VIDEO CONFERENCE)
                   Iztok Dstr w B1 . 22, Entr . A
   19              111a sofia
                   Bulgaria
   20              359-2-9713935
                   lawyers@penkov-m arkov .eu
   21
   22
             ALSO PRESENT :
   23
                   KELLY TRUELOVE , consultant for the plaintiffs
   24
                   GUEORGU I MATVEER, standby Bulgarian interpreter
   25               (appearing via video conference)

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                                                                                Page 54
                  The Status      repeat infringer, was that a                  08:43

        status that Hotfile added after this litigation began?                  08 :43

            A.    Yes,    believe so .                                          08 :43

            Q.    Prior to this litigation, was there a status                  08:43
        field or -- strike that .                                               08:43

                  Was there a status or a field of data that                    08:43

        would indicate whether       user was        repeat infringer?          08:43

                  MR. THOMPSON: Objection. Vague.                               08:43
                  THE WITNESS:     No . I believe there was not .               08:43

        BY MR . FABRIZIO :                                                      08:43

            Q.    Prior      this litigation, did Hotfile assign                08:43

        strikes     users based on          criteria           have             08 :43

        identified in your testimony today?                                     08 :43

   14             Not automatically, no .                                       08 :44

            Q.    Prior      this litigation, did Hotfile               well,   08:44
        strike that .                                                           08 :44

                  You said ''not automatically .'' Did                do        08 :44

   18   some way that was not automatic?                                        08 :44

                  MR. THOMPSON: Objection. Vague and ambiguous.                 08:44
                  THE W ITNESS: Not really.             mean it 's --           08:44

   21      wasn 't like that with strikes and counting .                        08:44

   22   BY MR . FABRIZIO :                                                      08 :44

                  Okay . So prior to this litigation, you didn 't               08 :44

        have a system of strikes and tallying strikes; correct?                 08:44

                  MR. THOMPSON: Objection. Vague and outside                    08:45


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                                                                               Page
        the scope                                                              08 :45

                    (Speaking simultaneously.)                                 08:45

                 THE WITNESS:         (Inaudible.)                             08:45
        BY MR . FABRIZIO :                                                     08 :45

            Q.      Go ahead, Mr. Titov.                                       08:45

                 MR . THOM PSON : Well, excuse me . Let make me                08 :45

        make my objection, Mr. Fabrizio.                                       08:45
                    This     this last line of inquiries             outside   08:45

        the scope of the deposition notice . We 're coming up                  08 :45

        two hours, and you pre going far afield . 1 911 1et              few   08:45

        more questions go before          cut this off.                        08:45

                    MR . FABRIZIO : Okay .        understand .                 08:45

                    Mr. Titov?                                                 08 :45

                    MR . THOMPSON :   Perhaps you can repeat                   08 :45

        question .                                                             08 :45

                    MR . FABRIZIO :   I1m going                                08 :45

                    Prior to this litigation, Mr. Titov, did                   08:45

        Hotfile assign strikes to users based on the criteria                  08:45

        you 've identified , whether automatically              manually?      08:46

                    MR. THOMPSON: Objection. Vague.                            08:46
                    THE W ITNESS:     It was not automatic counting of         08 :46

        strikes and manually,          there was something that was            08:46

        subjective to somebody.                                                08:46
        BY MR . FABRIZIO :                                                     08:46

            Q.      Was there any place, any data field or location            08:46



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    1   where, prior      this litigation, Hotfile kept track           08:46

        how many strikes a user had?                                    08:46

            A.    Nothing that I 'm aware of.                           08:46

            Q.    In the normal course, prior to this litigation,       08:46

        when Hotfile received a DMCA takedown notice, did               08:46

        Hotfile identify the user who had uploaded the file             08:46

        identified in that takedown notice?                             08:47

    8             MR. THOMPSON: Objection. Vague and ambiguous.         08:47
                  THE WITNESS: By ''Hotfile,'? if you mean the          08:47

        servers     Hotfile would       who would process the           08:47

        notice,    can 't really speak        what        means for     08 :47

        computer to identify something .                                08 :47

        BY MR . FABRIZIO :                                              08 :47

            Q.    Well, prior      this                                 08:47

            A.    For a person --                                       08 :47

                  (Speaking simultaneously.)                            08:47
        BY MR . FABRIZIO :                                              08:47

                  I 'm sorry . Please continue .                        08:47

                  And for a person who would review            DMCA     08 :47

        notice, he might or may not go through the process              08 :48

        identifying whose file                                          08 :48

            Q.    Prior      this litigation, did Hotfile have an       08:48
        established policy that its personnel reviewing DMCA            08:48

   24   takedown notices were supposed to identify the user who         08:48

        had uploaded the noticed files?                                 08:48



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                                                                           Page
                  MR. THOMPSON: Objection. Outside the scope               08:48
        the Rule 30 (b)(6) deposition. Steve, you 're asking               08:48
            of questions that are not here .                               08 :48

        BY MR . FABRIZIO :                                                 08 :48

            Q.       ahead,         Titov .                                08:48

                  Not --                                                   08 :48

                     ahead,         Titov .                                08 :48

                  (Speaking simultaneously.)                               16:25
        BY MR . FABRIZIO :                                                 16:25

                  Go ahead , Mr. Titov .

            A.    Not anything that I can            that        recall.   08:48

                  MR . FABRIZIO :    Going back         Exhibit Titov 7.   08:49

                  (Plaintiffs' Exhibit         was marked.)                08:49
        BY MR . FABRIZIO :                                                 08:49

            Q.    Are users with a status of 7, repeat infringer,          08:49

        ever reinstated by Hotfile            they have an active          08:49

        status?                                                            08 :49

                  MR. THOMPSON: Objection. Overbroad and                   08:49
                  THE WITNESS : Actually , we are talking about            08 :49

        statuses of an upload, not about statuses of a user,               08:50

        I    the question doesn 't really make sense             me .      08:50

        BY MR . FABRIZIO :                                                 08:50

                  Fair enough .     I realized that after I'd asked        08:50

                                                                           08:50

                  If -- al1 right . There are circumstances when           08 :50



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            STA TE OF CAL IFORNIA
                                                 SS .

           COUNTY OF LO S ANGELES




                                   ALEJA NDRIA E           KA TE , a Registered
                       Pro fessional Rep orter and Cert ified
                       Shorth and Reporter w ithin and fo r the
                       State of C alifornia , do hereb y certify :
                              That the foregoing record o f
                       proceedings is a fu ll and correct
                       transcrip t o f the stenograp hic n ot es
                       ta ken by m e therein .
                              In w itn ess whereof, I hav e h ereunto
                       set my hand th is 22nd day o f Nov emb er ,
                       2011 .




                                 ALEJA NDRIA E . KA TE , R PR , CSR 11897




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